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                              IN THE UNITED STATES BANUPTCY COURT

                                       FOR THE DISTRICT OF DELAWAR

In re:                                                     )         Chapter 11
                                                           )
W. R. GRACE & CO., et aI.,l                                )         Case No. 01-1139 (JK)
                                                          )          Jointly Administered
                              Debtors.                    )
                                                                             Objection Deadline: June 4, 2008 at 4:00 p.m.
                                                                            Hearing Date: September 29, 2008 at 1 :00 p.m.

                        NOTICE OF FILING OF QUARTERLY FEE APPLICATION

                        To: (1) The Debtors; (2) Office ofthe United States Trustee; (3) Counsel to the
Offcial Committee of                Unsecured Creditors; (4) Counsel to the Official Committee of                     Personal
Injury Claimants; (5) Counsel to the Official Committee of                                     Property Damage Claimants; (6)
Counsel to the debtor-in-possession lenders (the "DIP Lenders"); and (7) Counsel to the Official
Committee of Equity Holders.


                       Kirkland & Ellis LLP, bankptcy co-counsel to the above-captioned debtors and

debtors in possession in the above-captioned chapter 11 cases (collectively, the "Debtors"), filed

and served the Twenty-Eighth Quarterly Interim Verifed Application of Kirkland & Ells LLP for

Compensation for Services and Reimbursement of Expenses as Bankruptcy Counsel to



1 The Debtors consist of
                         the following 62 entities: W. R. Grace & Co. (f/a Grace Specialty Chemicals, Inc.), W. R. Grace & Co.-
Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amcon, Inc., CB Biomedical, Inc. (f/a Circe
Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food 'N Fun Company, Darex Puerto Rico, Inc., Del
Taco Restaurants, Inc., Dewey and Almy, LLC (f/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., G C
Limited Parers I, Inc. (f/a Grace Cocoa Limited Parters I, Inc.), G C Management, Inc. (f/a Grace Cocoa Management, Inc.),
GEC Management Corporation, GN Holdings, Inc., GPC Thomasvile Corp., Gloucester New Communities Company, Inc., Grace
A-B Inc., Grace A-B II Inc., Grace Chemical Company of    Cuba, Grace Culinary Systems, Inc., Grace Driling Company, Grace
Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services
Corporation, Grace International Holdings, Inc. (f/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR
Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Carbe Land Development
Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation
Management, Inc. (f/a GHSC Holding, Inc., Grace NH, Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated,
Monroe Street, Inc., MRA Holdings Corp. (f/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/a Nestor-BNA,
Inc.), MRA Staffng Systems, Inc. (f/a British Nursing Association, Inc.), Remedium Group, Inc. (f/a Environmental Liability
Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street
Corporation, Axial Basin Ranch Company, CC Parters (f/a Cross Countr Staffng), Hayden-Gulch West Coal Company, H-G
Coal Company.



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W R. Grace & Co., et al.,for the Interim Periodfrom January 1,2008 through March 31,2008

(the "Fee Application"), seeking compensation for the reasonable and necessar services rendered

to the Debtors in the amount of$7,263,172.00 and reimbursement for actual and necessary expenses

in the amount of $4,742,857.17.

                        Objections or responses to the Fee Application, if any, must be made in writing and

filed with the United States Banptcy Cour for the District of                               Delaware, 824 Market Street,

Wilmington, Delaware 19801, on or before June 4, 2008 at 4:00 p.m. Prevailng Eastern Time.

                        At the same time, you must also serve a copy of the objections or responses, if any,

upon the following: (i) co-counsel for the Debtors, Janet S. Baer, Esquire, Kirkland & Ells LLP,

200 East Randolph Drive, Chicago, Ilinois 60601 (fax number 312-861-2200), and Laura Davis

Jones, Esquire, Pachulski Stang Ziehl Young Jones & Weintraub LLP, 919 North Market Street,

17th Floor, P.O. Box 8705, Wilmington, DE 19899-8705 (Courier 19801) (fax number 302-652-

4400); (ii) counsel to the Official Committee of                             Unsecured Creditors, Lewis Krger, Esquire,


Stroock & Stroock & Lavan, 180 Maiden Lane, New York, New York 10038-4982 (fax number

212-806-6006), and Michael R. Lastowski, Esquire, Duane, Morrs & Heckscher, LLP, 1100 N.

Market Street, Suite 1200, Wilmington, Delaware 19801-1246 (fax number 302-657-4901); (iii)

counsel to the Offcial Committee of                        Property Damage Claimants, Scott L. Baena, Esquire, Bilzin,

Sumberg, Dun, Baena, Price & Axelrod, First Union Financial Center, 200 South Biscayne

Boulevard, Suite 2500, Miami, Florida 33131 (fax number 305-374-7593), and Michael B. Joseph,

Esquire, Ferry & Joseph, P.A., 824 Market Street, Suite 904, P.O. Box 1351, Wilmington, Delaware

19899 (fax number 302-575-1714); (iv) counsel to the Official Committee of                              Personal Injur




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Claimants, Elihu Inselbuch, Esquire, Caplin & Drysdale, 399 Park Avenue, 36th Floor, New York,

New York 10022 (fax number 212-644-6755), and Marla Eskin, Esquire, Campbell & Levine,

LLC, Chase Manattan Centre, 15th Floor, 1201 Market Street, Suite 1500, Wilmington, Delaware

19801 (fax number 302-426-9947); (v) counsel to the DIP Lenders, J. Douglas Bacon, Esquire,

Latham & Watkins, Sears Tower, Suite 5800, Chicago, Ilinois 60606 (fax number 312-993-9767),

and Steven M. Yoder, Esquire, The Bayard Firm, 222 Delaware Avenue, Suite 900, P.O. Box

25130, Wilmington, Delaware 19899 (fax number 302-658-6395); (vi) the Office of                            the United

States Trustee, Attn: Frank J. Perch, Esquire, 844 N. King Street, Wilmington, Delaware 19801

(fax number 302-573-6497); and (vii) counsel to the Official Committee of                          Equity Holders, Thomas

M. Mayer, Esquire, Kramer Levin Naftalis & Frankel LLP, 919 Third Avenue, New York, New

York 10022 (fax number 212-715-8000).




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        A HEARG ON THE FEE APPLICATION WILL BE HELD SEPTEMBER 29,2008

AT 1:00 P.M.
              , ,,
Dated: May ii, 2008              KIAN & ELLIS LLP
                                 David M. Bernck P.c.
                                 Janet S. Baer
                                 200 East Randolph Drive
                                 Chicago, IL 60601
                                 (312) 861-2000
                                 (312) 861-2200

                                        and

                                 PACHULSKI STANG ZIEHL & JONES LLP


                                 ~£OÆWJ.
                                 La r Davis Jones (Bar No. 2436)
                                 James E. O'Neil (Bar No. 4042)
                                 Timothy P. Cairns (Bar No. 4228)
                                 919 North Market Street, 17th Floor
                                 P.O. Box 8705
                                 Wilmington, DE 19899-8705 (Courier 19801)
                                 Telephone: (302) 652-4100
                                 Facsimile: (302) 652-4400

                                 Co-Counsel for Debtors and Debtors in Possession




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